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                                   BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                               §         Case No. 21-90002
                                                         §
    BASIC ENERGY                                         §         Chapter 11 (DRJ)
    SERVICES, INC., et al.,                              §
                                                         §         (Jointly Administered)
             Debtors. 1

                      NOTICE OF ORGANIZATIONAL MEETING
                FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       The organizational meeting for the Official Committee of Unsecured Creditors in the
captioned case will be convened by telephone conference on August 27, 2021 at 10:00 a.m.,
Central Time. Members of the committee have been provided call-in instructions.

Dated: August 27, 2021                                 KEVIN M. EPSTEIN
                                                       United States Trustee Region 7
                                                       Southern and Western Districts of Texas

                                                        By: /s/Jayson B. Ruff
                                                        Jayson B. Ruff, Trial Attorney
                                                        Michigan Bar No.P69893
                                                        Office of the United States Trustee
                                                        515 Rusk Avenue, Suite 3516
                                                        Houston, TX 77002
                                                        (713) 718-4650 Ext 252
                                                        (713) 718-4670 Fax




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Basic Energy Services, L.P. (1819); Basic Energy Services, Inc. (1194); C&J Well Services, Inc. (5684);
KVS Transportation, Inc. (4882); Indigo Injection #3, LLC (7657); Basic Energy Services GP, LLC (1197); Basic
Energy Services LP, LLC (1195); Taylor Industries, LLC (7037); SCH Disposal, L.L.C. (8335); Agua Libre Holdco
LLC (3092); Agua Libre Asset Co LLC (1409); Agua Libre Midstream LLC (6701); and Basic ESA, Inc. (2279). The
Debtors’ headquarters and service address for the purposes of these chapter 11 cases is 801 Cherry Street, Suite 2100,
Fort Worth, Texas 76102.
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                                CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing Notice of Organizational
Meeting for the Official Committee of Unsecured Creditors has been served by electronic means
on all PACER participants on August 27, 2021.

                                          /s/ Jayson B. Ruff
                                          Jayson B. Ruff
                                          Trial Attorney
